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 8                              UNITED STATES DISTRICT COURT

 9                             SOUTHERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                )       Case No. 11CR5010-JLS
11                                            )
                          Plaintiff,          )       ORDER AND JUDGMENT OF
12                                            )       DISMISSAL OF INFORMATION
                          v.                  )
13                                            )
     ALBERTO DIAZ-RODRIGUEZ (3),              )
14                                            )
                          Defendant.          )
15                                            )

16

17          Upon the United States’ motion and good cause being shown,

18          IT IS HEREBY ORDERED that the Information in Case No. 11-CR-5010 be dismissed

19   without prejudice as to Defendant ALBERTO DIAZ-RODRIGUEZ.

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21   DATED: December 15, 2011

22                                            Honorable Janis L. Sammartino
                                              United States District Judge
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